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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 TAWAINNA ANDERSON, Individually
 and as Administratrix of the ESTATE
 OF NYLAH ANDERSON, a deceased
 minor
                                                  No. 2:22-cv-01849-PD
        Plaintiff,
 v.

 TIKTOK, INC. AND BYTEDANCE,
 INC.

        Defendants.

                            PLAINTIFF’S NOTICE OF APPEAL

       Notice is hereby given that Plaintiff, Tawainna Anderson, Individually and as

Administratrix of the Estate of Nylah Anderson, a deceased minor (“Plaintiff”), hereby appeals to

the United States Court of Appeals for the Third Circuit from the final judgment entered by this

Court in favor of Defendants, TikTok, Inc. and ByteDance, Inc. (“Defendants”) on October 25,

2022 (ECF 40) and all decisions subsumed in that judgment, including, but not limited to the

Court’s Memorandum and Order (ECF 39, 40).



Dated: October 31, 2022                     /s/ Robert J. Mongeluzzi
                                            Robert J. Mongeluzzi
                                            Jeffrey P. Goodman
                                            Samuel B. Dordick
                                            Rayna McCarthy
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                                              Counsel for Plaintiffs




                                 CERTIFICATE OF SERVICE

       I hereby certify that on October 31, 2022, I electronically filed the foregoing document

with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being served

this day on all counsel of record or pro se parties either via transmission of Notices of Electronic

Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who

are not authorized to receive electronically Notices of Electronic Filing.

                                                      /s/ Robert J. Mongeluzzi
                                                      Robert J. Mongeluzzi
                                                      Counsel for Plaintiffs
